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                          UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WASHINGTON

DAVID STEBBINS                                                               PLAINTIFF

VS.                                   CASE NO. 11-1362

MICROSOFT CORPORATION                                                        DEFENDANTS

                                  MOTION FOR SANCTIONS

                          NOTE ON MOTION CALENDAR: NOV. 18, 2011

        Comes now, pro se Plaintiff David Stebbins, who respectfully submits the following

motion for sanctions against attorneys Steven Rummage and John Goldmark for making

frivolous arguments about the lack of my case's merit.

        Probably the frivolous argument which stands out the most is their argument that, because

Microsoft did not respond to my unilateral amendment offer, that does not show assent, but

rather, lack of assent.

        Rummage and Goldmark, however, seem to be missing one very crucial detail: That all I

am really doing is exactly the same thing that corporations just like Microsoft often use against

customers. That is all. Literally, there is no difference whatsoever between what I am doing and

what corporations just like Microsoft often do. Can the Defense counsel, in their response in

opposition to this motion, cite a single solitary difference? I do not believe that they can.

        Wherefore, premises considered, I request that the Defense counsel be issued an

appropriate sanction for making a frivolous argument of law in violation of FRCP Rule 11(b).

                                                                           By s/ David A. Stebbins
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VS.                                   CASE NO. 11-1362

MICROSOFT CORPORATION                                                      DEFENDANTS

                                   CERTIFICATE OF SERVICE

       I, pro se Plaintiff David Stebbins, hereby certify under penalty of perjury that a true and

correct copy of Plaintiff's Motion for Sanctions was served on John Goldmark & Steve

Rummage, attorneys for the defense, by allowing them to view the ECF Notice of Docket

Activity, as allowed by CR 5(b).

                                                                          By s/ David A. Stebbins
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